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        Exhibit D
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 I.      NHTSA Complaints Cited in the First Amended Class Action Complaint (“FAC”) at ¶ 36
                                                                                                                                Chandler-
                                                                                        Kukrika                                   Ward                                         Williams                                      Palefsky                                          Lanez




                                                Not Addressed in PE21-013



                                                                               Same Model/Model Year




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NHTSA ID
   No.         Date      Model       Issue
11419735      6/5/21     2020     Electrical    NO                                NO                      NO                   NO                        ☑                     ☑                      ☑                  NO                        ☑                  NO                      NO
                         Taycan   System
(FAC p. 13)                       Error/ Stop
                                  Vehicle in
                                  Safe
                                  Space
11433960      9/21/21    2020     Electrical    NO                                NO                      NO                   NO                        ☑                     ☑                      ☑                  NO                        ☑                  NO                      NO
                         Taycan   System
 (FAC pp.                         Error/ Stop
  13-15)                          Vehicle in
                                  Safe
                                  Space
11435775      10/6/21    2020     Electrical    NO                                NO                      NO                   NO                        ☑                     ☑                      ☑                  NO                        ☑                  NO                      NO
                         Taycan   System
(FAC p. 15)                       Error/ Stop
                                  Vehicle in
                                  Safe
                                  Space




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                                                                                                                                    Chandler-
                                                                                            Kukrika                                   Ward                                         Williams                                      Palefsky                                          Lanez




                                                    Not Addressed in PE21-013



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NHTSA ID
   No.          Date      Model       Issue
11462128       4/5/22     2020     Electrical    Not                                  NO                      NO                   NO                      NO                      ☑                      ☑                  NO                        ☑                  NO                      NO
                          Taycan   System        Explicitly
(FAC p. 15)                        Error/ Stop
                                   Vehicle in
                                   Safe
                                   Space
11418935      5/27/21     2020     Electrical       NO                                NO                      NO                   NO                        ☑                     ☑                      ☑                  NO                        ☑                  NO                      NO
                          Taycan   System
 (FAC pp.                          Error/ Stop
  15-16)                           Vehicle in
                                   Safe
                                   Space
11497123      12/12/22    2020     Electrical    Not                                  NO                      NO                   NO                      NO                      ☑                      ☑                  NO                        ☑                  NO                      NO
                          Taycan   System        Explicitly
(FAC p. 16)                        Error/ Stop
                                   Vehicle in
                                   Safe
                                   Space




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                                                                                                                                   Chandler-
                                                                                           Kukrika                                   Ward                                         Williams                                      Palefsky                                          Lanez




                                                   Not Addressed in PE21-013



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NHTSA ID
   No.         Date      Model       Issue
11509850      3/2/23     2020     Electrical    Not                                  NO                      NO                   NO                      NO                      ☑                      ☑                  NO                        ☑                  NO                      NO
                         Taycan   System        Explicitly
(FAC p. 16)                       Error/ Stop
                                  Vehicle in
                                  Safe
                                  Space
11586725      5/3/24     2020     Electrical    Not                                  NO                      NO                   NO                      NO                      ☑                      ☑                  NO                      NO                   NO                      NO
                         Taycan   System        Explicitly
 (FAC pp.                         Error/ Stop
  16-17)                          Vehicle in
                                  Safe
                                  Space
11422463      6/26/21    2021     Electrical       NO                                NO                      NO                   NO                        ☑                  NO                        ☑                  NO                        ☑                  NO                      NO
                         Taycan   System
(FAC p. 17)                       Error/ Stop
                                  Vehicle in
                                  Safe
                                  Space




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                                                                                                                                    Chandler-
                                                                                            Kukrika                                   Ward                                         Williams                                      Palefsky                                          Lanez




                                                    Not Addressed in PE21-013



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NHTSA ID
   No.         Date       Model       Issue
11404336      3/22/21     2021     Electrical       NO                                NO                      NO                   NO                        ☑                  NO                        ☑                  NO                        ☑                  NO                      NO
                          Taycan   System
 (FAC pp.                          Error/ Stop
  17-18)                           Vehicle in
                                   Safe
                                   Space
11427688       8/4/21     2021     Electrical       NO                                NO                      NO                   NO                        ☑                  NO                        ☑                  NO                        ☑                  NO                      NO
                          Taycan   System
(FAC p. 18)                        Error/ Stop
                                   Vehicle in
                                   Safe
                                   Space
11496955      12/11/22    2021     Electrical    Not                                  NO                      NO                   NO                      NO                   NO                        ☑                  NO                        ☑                  NO                      NO
                          Taycan   System        Explicitly
 (FAC pp.                          Error/ Stop
  18-19)                           Vehicle in
                                   Safe
                                   Space




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                                                                                                                                    Chandler-
                                                                                            Kukrika                                   Ward                                         Williams                                      Palefsky                                          Lanez




                                                    Not Addressed in PE21-013



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NHTSA ID
   No.         Date       Model       Issue
11429897      8/20/21     2021     Electrical       NO                                NO                      NO                   NO                        ☑                  NO                        ☑                  NO                        ☑                  NO                      NO
                          Taycan   System
(FAC p. 19)                        Error/ Stop
                                   Vehicle in
                                   Safe
                                   Space
11431568       9/3/21     2021     Electrical       NO                                NO                      NO                   NO                        ☑                  NO                        ☑                  NO                        ☑                  NO                      NO
                          Taycan   System
 (FAC pp.                          Error/ Stop
  19-20)                           Vehicle in
                                   Safe
                                   Space
11559618      12/11/23    2022     Electrical    Not                                  NO                      NO                      ☑                    NO                   NO                        ☑                  NO                        ☑                  NO                      NO
                          Taycan   System        Explicitly
(FAC p. 20)                        Error/ Stop
                                   Vehicle in
                                   Safe
                                   Space
11476601      7/29/22     2022     Explosion            ☑                             NO                      NO                      ☑                    NO                   NO                        ☑                  NO                        ☑                  NO                      NO
                          Taycan   at charging
 (FAC pp.                          port
  20-21)

                                                                                                   III-5
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                                                                                                                                    Chandler-
                                                                                            Kukrika                                   Ward                                         Williams                                      Palefsky                                          Lanez




                                                    Not Addressed in PE21-013



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NHTSA ID
   No.          Date      Model       Issue
11507680       2/16/23    2022     Electrical    Not                                  NO                      NO                      ☑                    NO                   NO                        ☑                  NO                        ☑                  NO                      NO
                          Taycan   System        Explicitly
(FAC p. 21)                        Error/ Stop
                                   Vehicle in
                                   Safe
                                   Space
 11584315      4/21/24    2024     Electrical    Not                                  NO                      NO                   NO                      NO                   NO                        ☑                  NO                      NO                   NO                      NO
                          Taycan   System        Explicitly
(FAC pp. 21-                       Error/ Stop
    22)                            Vehicle in
                                   Safe
                                   Space




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 II.      Online Complaints Cited in FAC at ¶ 38
                                                                                                                                Chandler-
                                                                                        Kukrika                                   Ward                                         Williams                                      Palefsky                                          Lanez




                                                Not Addressed in PE21-013




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   Date       Model           Issue
Unknown      2020      Electrical System   Not                                       ☑                    NO                   NO                      NO                   NO                      NO                   NO                      NO                      ☑                    NO
             Taycan    Error/ Stop         Explicitly
             4S        Vehicle in Safe
                       Space
Unknown      2020      “red circle of      Not                                       ☑                    NO                   NO                      NO                   NO                      NO                   NO                      NO                      ☑                    NO
             Taycan    death” error        Explicitly
             4S
Unknown      2022      Electrical System   Not                                    NO                      NO                   NO                      NO                   NO                      NO                   NO                      NO                   NO                      NO
             Taycan    Error               Explicitly
             CT4




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                      Case 1:24-cv-05492-ELR        Document 33-5                                      Filed 04/07/25                                                   Page 9 of 9




  III.     Instances of Alleged Taycan Fires
                                                                                                                  Chandler-
                                                                       Kukrika                                      Ward                                              Williams                                          Palefsky                                               Lanez




                                                              Complaint Relates to Same




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   FAC        Date             Model              Issue
¶ 49        Feb.     Taycan (model year/       Garage fire       NO                            ☑                  NO                            ☑                  NO                            ☑                  NO                            ☑                  NO                            ☑
            2020     variant not specified)
¶¶ 50-51    Oct.     2021 Taycan Cross         Battery fire      NO                         NO                    NO                            ☑                  NO                            ☑                  NO                            ☑                  NO                         NO
            2021     Turismo (Australian
                     model)
¶52         2003     Taycan (model year/       Cargo ship        NO                         NO                    NO                         NO                    NO                            ☑                  NO                            ☑                  NO                         NO
                     variant/country of sale   fire
                     not specified)




                                                              III-1
